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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
TH E BO EING CO M PANY EM PLO Y EE          CivilCaseNo. ____________________
R ETIR EM ENT PLANS M ASTER TR UST
andTH E BO EING CO M PANY
EM PLO Y EE SAVINGS PLANS M ASTER           PLAINTIFFS’ RULE 7.1 STATEMENT
TR UST,
                   Plaintiffs,
       v.

VALEANT PH AR M ACEUTICALS
INTER NATIO NAL, INC.;J. M ICH AEL
PEAR SO N;H O W AR D B. SCH ILLER ;
R O BER T L. R O SIELLO ;TANY A CAR R O ;
andPR ICEW ATER H O USECO O PER S,

                      D efendants.
Case 3:17-cv-07636-MAS-LHG Document 2 Filed 09/28/17 Page 2 of 3 PageID: 161



       PursuanttoR ule7.1(a) oftheFederalR ulesofCi
                                                  vilProcedure, theundersignedcounsel

forPlaintiffsTheBoeingCompanyEmployeeR etirementPlansM asterTrustandTheBoeing

Company Employee SavingsPlansM asterTrust(collectively, “The Boeing Trusts”) hereby

certifyasfollows:

       1.     Plaintiffs The Boeing Trusts are tax-qualified trusts funding retirementplans

sponsored by The Boeing Company and affiliates. The Boeing Company isa publicly held

corporationwithnoparentcorporationorpubliclyheldcorporationdirectlyowning10% ormore

ofitsstock.

       2.     To thebestofTheBoeing Trusts’knowledge, asofD ecember31, 2016, State

StreetCorporation was the beneficialownerof10.4% ofoutstanding stock ofThe Boeing

Company, approximately55.8% ofwhich(orapproximately5.8% oftotalsharesoutstanding) is

heldinTheBoeingCompanyEmployeeSavingsPlansM asterTrust,forwhichStateStreetBank

andTrustCompanyactedastrustee.




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D ated: September28, 2017                        R espectfullysubmitted,

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